                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK




In Re:

TERRORIST ATTACKS ON
SEPTEMBER 11, 2001

__________________________________

DEBORAH GRAZIOSO as Personal
Representative of the ESTATE of
TIMOTHY GRAZIOSO, DECEASED

DEBORAH GRAZIOSO, surviving
Spouse of Timothy Grazioso

LAUREN GRAZIOSO, surviving Child
of Timothy Grazioso
                                       CIVIL ACTION: 1:03-md-01570 (GBD)(SN)
BRIANA GRAZIOSO, surviving Child                     1:22-cv-01188 (GBD)(SN)
of Timothy Grazioso

CAROLEE AZZARELLO, as Personal
Representative of the ESTATE of
SANDRA GRAZIOSO, DECEASED,
surviving Parent of Timothy Grazioso

HANK GRAZIOSO, surviving Parent of
Timothy Grazioso

CAROLEE AZZARELLO, surviving
Sibling of Timothy Grazioso

KAREN VENTRE, surviving Sibling of
Timothy Grazioso

KRISTY GRAZIOSO, surviving Sibling
of Timothy Grazioso

ARLINE PEABODY, surviving Step-
Parent of Michael Bane
BRIAN MAJOR, surviving Step-Sibling
of Michael Bane

BRENDA JOBE, surviving Step-Sibling
of Michael Bane

JOSEPH CARPENETO as Personal
Representative of the ESTATE of
JOYCE ANN CARPENETO,
DECEASED

JOSEPH CARPENETO, surviving
Sibling of Joyce Ann Carpeneto

DIAN DEMBINSKI, surviving Sister of
Sandra Wright Cartledge

DIAN DEMBINSKI, as
Personal Representative of the ESTATE
of SANDRA WRIGHT CARTLEDGE,
DECEASED

LORETTA HAINES, surviving Sister of
Sandra Wright Cartledge

STEPHEN BRADISH, surviving Sibling
of Sandra Wright Cartledge

GERALDINE DEBORAH SPAETER,
surviving Sibling of Sandra Wright
Cartledge

LYNNE DUNN as Personal
Representative of the ESTATE of JACK
BRADISH a/k/a JOHN BRADISH,
DECEASED, surviving Sibling of Sandra
Wright Cartledge

NICHOLAS CHIRCHIRILLO,
surviving Child of Peter Chirchirillo

MICHAEL CHIRCHIRILLO, surviving
Child of Peter Chirchirillo

JOANANN COALE, surviving Parent of
Jeffrey Coale

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DANIEL D. COFFEY, M.D. as Personal
Representative of the ESTATE of
JEANNETTE COFFEY, DECEASED,
surviving Parent of Daniel M. Coffey

DANIEL D. COFFEY, M.D. as Personal
Representative of the ESTATE of
DANIEL F. COFFEY, JR.,
DECEASED, a surviving Parent of
Daniel M. Coffey

COLLEEN MCDONALD, surviving
Fiancée of Jason Coffey

KEITH BRADKOWSKI, surviving
Domestic Partner (Functional Equivalent
of a Spouse) of Jeffrey Collman

KATHRYN COLLMAN, surviving
Step-Mother of Jeffrey Collman

KEITH BRADKOWSKI as Personal
Representative of the ESTATE of
BEVERLY SUTTON, DECEASED, a
surviving Parent of Jeffrey Collman

CAROLYN SUTTON, surviving Sibling
of Jeffrey Collman

VICKI LYNN MICHEL, surviving
Sibling of Jeffrey Collman

STEVE GENGLER, surviving Step-
Sibling (Functional Equivalent of a
Sibling) of Jeffrey Collman

CHARLES EDWARD GENGLER,
surviving Step-Sibling (Functional
Equivalent of a Sibling) of Jeffrey
Collman

SUSAN BOHAN, surviving Step-Sibling
(Functional Equivalent of a Sibling) of
Jeffrey Collman




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JASON DIEHL, surviving Child of
Michael Diehl

HARLEY DINARDO, a surviving
Sibling of Marisa DiNardo-Schorpp

HARLEY DINARDO, as Personal
Representative of the ESTATE of
ESTERINA DINARDO, DECEASED, a
surviving Parent of Marisa DiNardo-
Schorpp

PIO DINARDO, a surviving Parent of
Marisa DiNardo-Schorpp

ANDREW ECONOMOS, a surviving
Sibling of Constantine Economos

ANDREW ECONOMOS and OLGA
VALINOTTI as co-Personal
Representatives of the ESTATE of
LEON ECONOMOS, DECEASED, a
surviving Parent of Constantine
Economos

OLGA VALINOTTI, a surviving Sibling
of Constantine Economos

EMMA FERNANDEZ REGAN,
surviving Sibling of Judy Fernandez

CIRILO FERNANDEZ, surviving
Parent of Judy Fernandez

RICHARD FERNANDEZ, surviving
Sibling of Judy Fernandez

CONSTANCE FINNICUM, a surviving
Sibling of Richard Gabrielle

GEORGE “GABE” GABRIELLE, a
surviving Sibling of Richard Gabrielle

RENEÉ L. GAMBOA, surviving Parent
of Ronald Gamboa



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RENEÉ L. GAMBOA as Personal
Representative of the ESTATE of
RANULF GAMBOA, DECEASED,
surviving Parent of Ronald Gamboa

MARIA JOULE, surviving Sister of
Ronald Gamboa

RACHEL G. MALUBAY, surviving
Sister of Ronald Gamboa

JANE G. HALLER, surviving Sibling of
William Godshalk

JOHN G. HALLER, as Personal
Representative of the ESTATE of
JAMES BOND GOLDSHALK,
DECEASED, surviving Parent of William
Godshalk

KATHRYN GRAZIOSO, surviving
Child of John Grazioso

KRISTEN GRAZIOSO, surviving Child
of John Grazioso

MICHAEL GRAZIOSO, surviving child
of John Grazioso

CAROLEE AZZARELLO, surviving
Sibling of John Grazioso

CAROLEE AZZARELLO, as Personal
Representative of the ESTATE of
SANDRA GRAZIOSO, DECEASED,
surviving Parent of John Grazioso

HANK GRAZIOSO, surviving Parent of
John Grazioso

KAREN VENTRE, surviving Sibling of
John Grazioso

KRISTY GRAZIOSO, surviving Sibling
of John Grazioso



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DOUGLAS HALVORSON, surviving
Child of James Halvorson

KATE HALVORSON as Personal
Representative of the ESTATE of
EVELYN HALVORSON, DECEASED,
surviving Parent of James Halvorson

KATE HALVORSON, surviving
Sibling of James Halvorson

SEAN BITTERMAN, surviving Step-
Child of Donald Havlish (Functional
Equivalent of a Child)

LEA BITTERMAN, surviving Step-
Child of Donald Havlish (Functional
Equivalent of a Child)

DERRICK HOBIN, surviving Child of
James Jeffery Hobin

JU-HSIU JIAN, a/k/a CONNIE JIAN as
the Personal Representative of the
ESTATE of HWEIDAR JIAN,
DECEASED

JU-HSIU JIAN, a/k/a CONNIE JIAN,
surviving Spouse of Hweidar Jian

WILLIAM JIAN, surviving Child of
Hweidar Jian

KEVIN JIAN, surviving Child of
Hweidar Jian

ANITA KORSONSKY, surviving
Sibling of Jeanette LaFond-Menechino

DINA LAFOND, surviving Parent of
Jeanette LaFond-Menechino

PATRICIA CALOIA, surviving Sibling
of Denis Lavelle




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PAUL LAVELLE, surviving Sibling of
Denis Lavelle

MICHAEL A. LOGUIDICE, SR., as
Personal Representative of the ESTATE
of CARMELLO JOSEPH
LOGUIDICE, DECEASED, surviving
Parent of Catherine Lisa LoGuidice

JOSEPH LOSTRANGIO, JR.,
surviving Child of Joseph Lostrangio

CATHRYN LOSTRANGIO, surviving
Child of Joseph Lostrangio

DIANE LOSTRANGIO, as Personal
Representative of the ESTATE of
JAMES LOSTRANGIO, surviving
Parent of Joseph Lostrangio

ERICH MAERZ, surviving Sibling of
Noell Maerz

RAMON MELENDEZ, JR., surviving
Child of Mary Melendez

RICKY MELENDEZ. surviving Child
of Mary Melendez

JESSE MELENDEZ, surviving Child of
Mary Melendez

TYLER MELENDEZ, surviving Child
of Mary Melendez

FLORENCE ROSARIO, surviving
Sibling of Mary Melendez

MARGARET MONTANEZ, surviving
Sibling of Mary Melendez

PETER C. MILANO, surviving Child of
Peter T. Milano

JESSICA MILANO, surviving Child of
Peter T. Milano

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JASON RUBEN MORENO, surviving
Sibling of Yvette Moreno

LEIANA MORENO, surviving Sibling
of Yvette Moreno

NOELIA MORENO, surviving Sibling
of Yvette Moreno

KATHERINE TYNION, surviving
Sibling of Robert M. Murach

MARY ELLEN MURACH, surviving
Parent of Robert M. Murach

MARY ELLEN MURACH, as Personal
Representative of the ESTATE of
EDWARD JOHN MURACH,
DECEASED, surviving Parent of Robert
M. Murach

RICHARD J. MURACH, surviving
Sibling of Robert M. Murach

NEAL GREEN, surviving Sibling of
Brian Nunez

JOEL R. PERRY (Appointment
Pending) as Personal Representative of the
ESTATE of JAMES LESLIE PERRY,
DECEASED, surviving Parent of John
Perry

ROOSEVELT STALLWORTH,
surviving Sibling of Marsha Ratchford

CARL STALLWORTH, surviving
Sibling of Marsha Ratchford

ANGELIA STALLWORTH-BLUNT,
surviving Sibling of Marsha Ratchford

BRIAN CHRISTIAN, surviving Sibling
of Marsha Ratchford



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AMANDA ROGERS, surviving Sibling
of Marsha Ratchford

DIANA DIAZ as Personal Representative
of the ESTATE of CARMEN
ROMERO, DECEASED, surviving
Parent of Elvin Romero

DIANA DIAZ as Personal Representative
of the ESTATE of ISAAC ROMERO,
DECEASED, surviving Parent of Elvin
Romero

DIANA DIAZ, surviving Sibling of Elvin
Romero

LOREN ROSENTHAL as Personal
Representative of the ESTATE of EVAN
ROSENTHAL, DECEASED, surviving
Child of Richard Rosenthal

LOREN ROSENTHAL as Personal
Representative of the ESTATE of SETH
ROSENTHAL, DECEASED, surviving
Child of Richard Rosenthal

AUDREY MODEL as Personal
Representative of the ESTATE of
LEONARD ROSENTHAL,
DECEASED, surviving Parent of Richard
Rosenthal

AUDREY MODEL as Personal
Representative of the ESTATE of
FLORENCE ROSENTHAL,
DECEASED, surviving Parent of Richard
Rosenthal

AUDREY MODEL, surviving Sibling of
Richard Rosenthal

GARY REISS, surviving Parent of
Joshua Reiss

ADAM REISS, surviving Sibling of
Joshua Reiss

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JORDAN REISS, surviving Sibling of
Joshua Reiss

JONATHAN REISS, surviving Sibling
of Joshua Reiss

JENNIFER REISS, surviving Sibling of
Joshua Reiss

ALEXANDER ROWE, surviving Parent
of Nicholas Rowe

VICTOR SANTILLAN, surviving
Sibling of Maria Theresa Santillan

RAYMOND SANTILLAN, surviving
Sibling of Maria Theresa Santillan

LORI BRODY, surviving Sibling of
Scott Schertzer

ELLEN SCHERTZER, surviving Parent
of Scott Schertzer

PATRICIA SLOAN, surviving Parent of
Paul K. Sloan

MATT SLOAN, surviving Sibling of
Paul K. Sloan

SARAH FUNK, surviving Sibling of Paul
K. Sloan

RAYMOND SMITH, Personal
Representative of the ESTATE of
MARION THOMAS, DECEASED,
surviving Grandparent of George Smith
(Functional Equivalent of a Parent)

RAYMOND SMITH on behalf of the
ESTATE of DEBORAH SALLAD,
DECEASED, surviving sibling of George
Smith




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CARL SMITH, surviving Sibling of
George Smith

KEVIN SMITH, surviving Sibling of
George Smith

KORRY SMITH, surviving Sibling of
George Smith

TANYA WARREN, surviving sibling of
George Smith

LETRICIA SMITH, surviving Sibling of
George Smith

ELAINE SMITH, surviving Sibling of
George Smith

CHRISTINE JACKSON, surviving
Sibling of George Smith

BARBARA HARGROVE, surviving
Sibling of George Smith

RAYMOND SMITH, JR., surviving
Sibling of George Smith

TIMOTHY P. SOULAS, JR., surviving
Child of Timothy Soulas, Sr.

ANDREW J. SOULAS, surviving Child
of Timothy Soulas

CHRISTOPHER SOULAS, surviving
Child of Timothy Soulas

MATTHEW SOULAS, surviving Child
of Timothy Soulas

NICOLE SOULAS, surviving Child of
Timothy Soulas

DANIEL SOULAS, surviving Child of
Timothy Soulas




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FREDERICK SOULAS, surviving
Parent of Timothy Soulas

STEPHEN SOULAS, surviving Sibling
of Timothy Soulas

FREDERICK SOULAS, III, surviving
Sibling of Timothy Soulas

DANIEL D. SOULAS, surviving Sibling
of Timothy Soulas

MICHELLE DONLAN, surviving
Sibling of Timothy Soulas

AARON STRAUB, surviving Child of
Edward W. Straub

JONATHAN STRAUB, surviving Child
of Edward W. Straub

MICHAEL STRAUB, surviving Child of
Edward W. Straub

EDWARD STRAUB, surviving Parent of
Edward W. Straub

STANLEY STRAUB, surviving Sibling
of Edward W. Straub

MATTHEW STRAUB, surviving
Sibling of Edward W. Straub

SALVATORE TINO, JR., surviving
Parent of Jennifer Tino

JEFFREY TINO, surviving Sibling of
Jennifer Tino

SALVATORE TINO, III, surviving
Sibling of Jennifer Tino

JOSEPH NICKLO, surviving Sibling of
Jeanmarie Wallendorf




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MELLANIE CHAFE, surviving Sibling
of Jeanmarie Wallendorf

CHRISTOPHER BARTON, surviving
Sibling of Jeanmarie Wallendorf

JOHN BARTON, surviving Sibling of
Jeanmarie Wallendorf

ROY-YETKUTIEL SHEFI, surviving
Child of Hagay Shefi

NAOMI-RUTH SHEFI, surviving Child
of Hagay Shefi

JOY KAUFMAN, a/k/a RINA
KAUFMAN, surviving Sibling of Leon
Lebor

JOY KAUFMAN, a/k/a RINA
KAUFMAN as Personal Representative
of the ESTATE of BESSIE LEBOR,
DECEASED, surviving Parent of Leon
Lebor

BARBARA LURMAN as the Personal
Representative of the ESTATE of LEON
LEBOR, DECEASED

BARBARA LURMAN, surviving Child
of Leon Lebor

KUI LIONG LEE, as Personal
Representative of the ESTATE of SIEW
NYA ANG, DECEASED

MELODIE HOMER as Personal
Representative of the ESTATE of
LEROY W. HOMER, JR., DECEASED

MELODIE HOMER, surviving Spouse
of LeRoy W. Homer, Jr.

LAUREL HOMER, surviving Child of
LeRoy W. Homer, Jr.



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CANDY MOYER, as Personal
Representative of the ESTATE OF
JOHN R. JONES, DECEASED,
surviving Parent of Donald W. Jones

AUDREY R. JONES, surviving Parent of
Donald W. Jones

ROBERT A. JONES, surviving Sibling
of Donald W. Jones

CANDY JONES MOYER, surviving
Sibling of Donald W. Jones

AMY MARTINEZ as Personal
Representative of the ESTATE of LOUIS
NACKE, DECEASED

AMY MARTINEZ, surviving Spouse of
Louis Nacke

TANYA DAVIS as Personal
Representative of the ESTATE of
WAYNE T. DAVIS, DECEASED

TANYA DAVIS, surviving Spouse of
Wayne T. Davis

GABRIELLE HUNTER DAVIS,
surviving Child of Wayne T. Davis

MALACHAI ROARKE DAVIS,
surviving Child of Wayne T. Davis

NOVERTA DAVIS-DEAN, surviving
Parent of Wayne T. Davis

JOHNNY MISTRULLI and MARIA
LAMBERT as co-Personal
Representatives of the ESTATE of
ANNE MISTRULLI, DECEASED,
surviving Parent of Joseph D. Mistrulli

JOHNNY MISTRULLI, surviving
Sibling of Joseph D. Mistrulli



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MARIA LAMBERT, surviving Sibling
of Joseph D. Mistrulli

KAREN LUNDER as Personal
Representative of the ESTATE OF
CHRISTOPHER E. LUNDER,
DECEASED

KAREN LUNDER, surviving Spouse of
Christopher E. Lunder

HERMAN RAY, surviving Sibling
of Denease Conley

HERMAN RAY as Personal
Representative of the ESTATE OF
DENEASE CONLEY, DECEASED

CHERRIE L. ALLEN, surviving Sibling
of Denease Conley

IRMA JOYCE FLETCHER, surviving
Sibling of Denease Conley

MYRA BYRD, as Personal
Representative of the ESTATE of EARL
RAY, DECEASED, surviving Sibling of
Denease Conley

BARBARA HAYNES-JENKINS,
surviving Sibling of Denease Conley

HERMAN RAY, as Personal
Representative of the ESTATE of
JAMES RAY, DECEASED, surviving
Sibling of Denease Conley

ODETTA HAYWOOD, as Personal
Representative of the ESTATE OF
STANLEY RAY, DECEASED,
surviving Sibling of Denease Conley

AARON ADLER, surviving Sibling of
Lee Alan Adler




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ALICE DOERGE ADLER, surviving
Spouse of Lee Alan Adler

ALICE DOERGE ADLER, as Personal
Representative of the ESTATE OF LEE
ALAN ADLER, DECEASED

ISABELL DANSIGER ADLER,
surviving Parent of Lee Alan Alder

JAY ADLER, surviving Sibling of Lee
Alan Adler

LAUREN SARAH ADLER
MARTINELLI, surviving Child of Lee
Alan Adler

ANITA DEBLASE, surviving Parent of
James V. DeBlase

ANTHONY DEBLASE, surviving
Sibling of James V. DeBlase

RICHARD DEBLASE, surviving Sibling
of James V. DeBlase

MARIANNA GARFI, surviving Parent
of Francesco Garfi

SALVATORE GARFI, surviving Parent
of Francesco Garfi

VITO GARFI, surviving Sibling of
Francesco Garfi

VITO GARFI, as Personal
Representative of the ESTATE OF
FRANCESCO GARFI, DECEASED

THERESA COOKE, surviving Sibling
of LeRoy W. Homer, Jr.

MICHELLE HARGIS, surviving Sibling
of LeRoy W. Homer, Jr.




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CHRISTINE HOMER, surviving
Sibling of LeRoy W. Homer, Jr.

CHRISTINE HOMER, as Personal
Representative of the ESTATE OF
THOMAS FREIMARK, DECEASED,
surviving Sibling of LeRoy W. Homer, Jr.

ILSE HOMER, surviving Parent of
LeRoy W. Homer, Jr.

MONIQUE HOMER, surviving Sibling
of LeRoy W. Homer, Jr.

MARILYN JOHNSON, surviving
Sibling of LeRoy W. Homer, Jr.

CHERYL HOMER WILSON, surviving
Sibling of LeRoy W. Homer, Jr.

GERMAINE WILSON, surviving
Sibling of LeRoy Homer, Jr.

ANDREW BRIAN JORDAN, JR.,
surviving Child of Andrew Brian Jordan,
Sr.

DAVID LEBOR, surviving Sibling of
Leon Lebor

RINA “JOY” KAUFMAN, as Personal
Representative of the ESTATE OF
PHILIP LEBOR, DECEASED,
deceased Parent of Leon Lebor

DANIELLE MCGUIRE, as Personal
Representative of the ESTATE OF
PATRICK MCGUIRE, DECEASED

DANIELLE MCGUIRE, surviving
Spouse of Patrick McGuire

MARA MCGUIRE, surviving Child of
Patrick McGuire




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RYAN MCGUIRE, surviving Child of
Patrick McGuire

SEAN MCGUIRE, surviving Child of
Patrick McGuire

SHEA MCGUIRE, surviving Child of
Patrick McGuire

ANNEMARIE MEDAGLIA, surviving
Parent of Rocco Medaglia

DIANA MEDAGLIA, surviving Child of
Rocco Medaglia

KATHLEEN MEDAGLIA-
DELLAPENNA, surviving Sibling of
Rocco Medaglia

MARYELLEN MEDAGLIA, surviving
Sibling of Rocco Medaglia

MICHAEL MEDGALIA, surviving
Sibling of Rocco Medaglia

ELIZABETH MEDAGLIA-CORDES,
surviving Child of Rocco Medaglia

ELIZABETH MEDAGLIA-CORDES
as Personal Representative of the
ESTATE OF ROCCO MEDAGLIA,
DECEASED

JOANNE MISTRULLI as Personal
Representative of the ESTATE of
FRANK MISTRULLI, surviving
Sibling of Joseph D. Mistrulli

PAULA NACKE JACOBS, surviving
Sibling of Louis J. Nacke

DALE ALLEN NACKE, surviving
Sibling of Louis J. Nacke




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DALE ALLEN NACKE as Personal
Representative of the ESTATE OF
LOUIS P. NACKE, DECEASED,
surviving Parent of Louis J. Nacke

DALE ALLEN NACKE Personal
Representative of the ESTATE OF
PHILOMENA MILLACE NACKE,
DECEASED, surviving Parent of Louis J.
Nacke

KENNETH NACKE, surviving Sibling
of Louis J. Nacke

LOUIS PAUL NACKE, II, surviving
Child of Louis J. Nacke

JOSEPH NICHOLAS NACKE,
surviving Child of Louis J. Nacke

THOMAS PAPASSO, surviving Sibling
of Salvatore T. Papasso

PATRICIA MASON, surviving Sibling
of Sandra Wright-Cartledge

JAMES CASAZZA, surviving Sibling of
John F. Casazza

DEBRA ZEPLIN, as Personal
Representative of the ESTATE OF
MARC SCOTT ZEPLIN, DECEASED

DEBRA ZEPLIN, surviving Spouse of
Marc Scott Zeplin

ETHAN ZEPLIN, surviving Child of
Marc Scott Zeplin

RYAN ZEPLIN, surviving Child of Marc
Scott Zeplin

DANIEL R. MAHER, surviving Child of
Daniel L. Maher




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JOSEPH F. MAHER, surviving Child of
Daniel L. Maher


                                  Plaintiffs,



                     v.

ISLAMIC EMIRATE OF
AFGHANISTAN a/k/a THE
TALIBAN,
an unincorporated association


MUHAMMAD OMAR, individually
Last known location: Afghanistan

SHEIKH USAMAH BIN-
MUHAMMAD
BIN-LADEN, DECEASED
a/k/a OSAMA BIN LADEN,
DECEASED

               and

AL-QAEDA a/k/a AL-QAEDA
ISLAMIC ARMY,
an unincorporated association

                                Defendants.




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                     PLAINTIFFS’ SECOND AMENDED COMPLAINT

       COME NOW, Plaintiffs and state the following as their Second Amended Complaint:

       1.      On September 11, 2001, 2,976 individuals, referred to herein as “Decedents,” were

murdered when nineteen terrorists caused four airliners to crash into the World Trade Center

Towers in New York, the Pentagon Building in Arlington County, Virginia and a field near the

town of Shanksville, Pennsylvania. Plaintiffs are the personal representatives and family members

of some of the Decedents.

       2.      The nineteen hijackers (hereinafter collectively referred to as the “al-Qaeda

hijackers” or the “hijackers”) were members of a network known as al-Qaeda, a terrorist

organization dedicated to the destruction of the United States and its citizens. The al-Qaeda

organization was, and is, dedicated to the goal of establishing a universal Islamic state through the

use of violence. Immediately prior to the 9/11 attacks, al-Qaeda maintained its headquarters in

Afghanistan.

       3.      The leader of al-Qaeda was Sheikh Usamah bin-Muhammad bin-laden, Deceased,

a/k/a Osama bin Laden (hereinafter referred to as “bin Laden”), a former citizen of Saudi Arabia

who, prior to his death on May 2, 2011, planned, conspired, funded, directed, controlled, and

engaged in terrorist activities and pursuits involving intentional and willful mass murder of

thousands of innocent men, women, and children, including the victims of the 9/11 terrorist

attacks. On several occasions, bin Laden admitted his and al-Qaeda’s participation in, and

responsibility for, the 9/11 attacks.

       4.      Al-Qaeda trained, funded and supported the hijackers, with the aid and assistance

of various individuals, organizations and governments, including Defendants named herein – bin

Laden, the Taliban, and Muhammad Omar.



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       5.      For years prior to the 9/11 attacks, bin Laden had declared and advocated “jihad” -

holy war - against the United States. For example, on February 23, 1998, bin Laden urged jihad

against Americans and published in the newspaper Al Quds al-Arabi the following: “the ruling to

kill the Americans and their allies - civilians and military - is an individual duty for every Muslim

who can do it in any country in which it is possible to do it.” On August 20, 1998, President

Clinton advised that the United States was taking military action against terrorist objectives in

Afghanistan and Sudan: “Our target was terror; our mission was clear: to strike at the network of

radical groups affiliated with and funded by Osama Bin Laden, perhaps the preeminent organizer

and financer of international terrorism in the world today.” On August 21, 1998, the United States

Department of State found that: “Bin Laden’s network leads, funds and inspires a wide range of

Islamic extremist groups that perpetrate acts of terrorism around the world.”

       6.       In conducting their terrorist activities, bin Laden and al-Qaeda received financial,

logistical and other direct material support from foreign states, such as the Islamic Republic of

Iran, terrorist organizations, and individuals. The Islamic Emirate of Afghanistan, a/k/a the

Taliban, and Muhammad Omar provided bin Laden and al-Qaeda with direct material support that

aided the 9/11 terrorist attacks. Plaintiffs now seek to hold all Defendants accountable for their

role in facilitating these murders.

                                 JURISDICTION AND VENUE

       7.      Jurisdiction arises pursuant to 28 U.S.C. 1331 and 1332(a)(2). Jurisdiction also

arises under the Torture Victim Protection Act of 1991, PL 102-256, 106 Stat. 73 (reprinted at 28

U.S.C.A. §1350 note (West 1993)), and 18 U.S.C. §2333.

       8.      Venue is dictated by the jurisdiction conferring provision of § 408(b)(3) of Title IV

of the Air Transportation Safety and System Stabilization Act (codified at 49 U.S.C. 40101 note):


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“The United States District Court for the Southern District of New York shall have original and

exclusive jurisdiction over all actions brought for any claim (including any claim for loss of

property, personal injury, or death) resulting from or relating to the terrorist-related aircraft crashes

of September 11, 2001.”

        9.      Venue is also proper in this District because it is the situs of the Multidistrict

Litigation captioned In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN).

        10.     This Complaint also alleges state law claims for wrongful death, personal injury

and related torts perpetrated by all Defendants, whether acting on their own accord, or through

their officials, employees, proxies, and agents.

        11.     With one exception (plaintiff James Casazza herein), this Complaint is filed on

behalf of those plaintiffs in this MDL who previously received final judgments as to liability and

damages under 28 U.S.C. §1605A against the Islamic Republic of Iran (“Iran”) for providing

direct and material support to al-Qaeda in carrying out the terrorist attacks of September 11,

2001.

                                            PLAINTIFFS

        12.     Deborah Grazioso is the Personal Representative of the Estate of Timothy

Grazioso, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

        13.     Deborah Grazioso is the surviving Spouse of Timothy Grazioso, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried




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out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       14.     Lauren Grazioso is a surviving Child of Timothy Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       15.     Briana Grazioso is a surviving Child of Timothy Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       16.     Carolee Azarello is the Personal Representative of the Estate of Sandra

Grazioso, a surviving Parent of Timothy Grazioso, one of the Decedents murdered as a result of

the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       17.     Carolee Azzarello is a surviving Sibling of Timothy Grazioso, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       18.     Karen Ventre is a surviving Sibling of Timothy Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.



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        19.       Kristy Grazioso is a surviving Sibling of Timothy Grazioso, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

        20.       Hank Grazioso is a surviving Parent of Timothy Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

        21.       Arline Peabody is a surviving Step-Parent of Michael Bane (Functional

Equivalent of a Parent), one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to

which the Taliban and Muhammad Omar provided material support and assistance in furtherance

of the attacks.

        22.       Brian Major is a surviving Step-Sibling of Michael Bane (Functional Equivalent

of a Sibling), one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

        23.       Brenda Jobe is a surviving Step-Sibling of Michael Bane (Functional Equivalent

of a Sibling), one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.



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        24.       Joseph Carpeneto is the Personal Representative of the Estate of Joyce Ann

Carpeneto, Deceased, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to

which the Taliban and Muhammad Omar provided material support and assistance in furtherance

of the attacks.

        25.       Joseph Carpeneto is a surviving Sibling of Joyce Ann Carpeneto, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

        26.       Dian Dembinski is the Personal Representative of the Estate of Sandra Wright

Cartledge, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

        27.       Dian Dembinski is a surviving Sibling of Sandra Wright Cartledge, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

        28.       Loretta Haines is a surviving Sibling of Sandra Wright Cartledge, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.




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       29.     Stephen Bradish is a surviving Sibling of Sandra Wright Cartledge, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       30.     Geraldine Deborah Spaeter is a surviving Sibling of Sandra Wright Cartledge,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       31.     Lynne Dunn is the Personal Representative of the Estate of Jack Bradish a/k/a/

John Bradish, a surviving Sibling of Sandra Wright Cartledge, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar provided material

support and assistance in furtherance of the attacks.

       32.     Nicholas Chirchirillo is a surviving Child of Peter Chirchirillo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       33.     Michael Chirchirillo is a surviving Child of Peter Chirchirillo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       34.     Joan Ann Coale is a surviving Parent of Jeffrey Coale, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out al-



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Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

        35.       Daniel D. Coffey, M.D. is the Personal Representative of the Estate of Jeannette

Coffey, a surviving Parent of Daniel M. Coffey, a Decedent murdered as a result of the terrorist

attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

        36.       Daniel D. Coffey, M.D. is the Personal Representative of the Estate of Daniel F.

Coffey, Jr., a surviving Parent of Daniel M. Coffey, a Decedent murdered as a result of the

terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

        37.       Colleen McDonald is a surviving Fiancée (Functional Equivalent of a Spouse) of

Jason Coffey, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

        38.       Keith Bradkowski is a surviving Domestic Partner (Functional Equivalent of a

Spouse) of Jeffrey Collman, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to

which the Taliban and Muhammad Omar provided material support and assistance in furtherance

of the attacks.




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        39.       Kathryn Collman is a surviving Step-Mother (Functional Equivalent of a Parent)

of Jeffrey Collman, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to

which the Taliban and Muhammad Omar provided material support and assistance in furtherance

of the attacks.

        40.       Keith Bradkowski is the Personal Representative of the Estate of Beverly

Sutton, a surviving Parent of Jeffrey Collman, one of the Decedents murdered as a result of the

terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

        41.       Carolyn Sutton is a surviving Sibling of Jeffrey Collman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

        42.       Vicki Lynn Michel is a surviving Sibling of Jeffrey Collman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

        43.       Steve Gengler is a surviving Step-Sibling (Functional Equivalent of a Sibling) of

Jeffrey Collman, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.



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        44.       Charles Edward Gengler is a surviving Step-Sibling (Functional Equivalent of a

Sibling) of Jeffrey Collman, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to

which the Taliban and Muhammad Omar provided material support and assistance in furtherance

of the attacks.

        45.       Susan Bohan is a surviving Step-Sibling (Functional Equivalent of a Sibling) of

Jeffrey Collman, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

        46.       Jason Diehl is a surviving Child of Michael Diehl, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

        47.       Harley DiNardo is a surviving Sibling of Marisa DiNardo-Schorpp, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

        48.       Harley DiNardo is the Personal Representative of the Estate of Esterina

DiNardo, a surviving Parent of Marisa DiNardo-Schorpp, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar provided material

support and assistance in furtherance of the attacks.



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       49.     Pio DiNardo is a surviving Parent of Marisa DiNardo-Schorpp, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       50.     Andrew Economos is a surviving Sibling of Constantine Economos, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       51.     Andrew Economos and Olga Valinotti are co-Personal Representatives of the

Estate of Leon Economos, a surviving Parent of Constantine Economos, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       52.     Olga Valinotti is a surviving Sibling of Constantine Economos, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       53.     Emma Fernandez Regan is a surviving Sibling of Judy Fernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       54.     Cirilo Fernandez is a surviving Parent of Judy Fernandez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-



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Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       55.     Richard Fernandez is a surviving Sibling of Judy Fernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       56.     Constance Finnicum is a surviving Sibling of Richard Gabrielle, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       57.     George “Gabe” Gabrielle is a surviving Sibling of Richard Gabrielle, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       58.     Reneé L. Gamboa is a surviving Parent of Ronald Gamboa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       59.     Reneé L. Gamboa is the Personal Representative of the Estate of Ranulf

Gamboa, a surviving Parent of Ronald Gamboa, one of the Decedents murdered as a result of

the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.



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       60.     Maria Joule is a surviving Sibling of Ronald Gamboa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       61.     Rachel G. Malubay is a surviving Sister of Ronald Gamboa, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       62.     John G. Haller is the Personal Representative of the Estate of James Bond

Godshalk, a surviving Parent of William Godshalk, one of the Decedents murdered as a result of

the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       63.     Jane G. Haller is a surviving Sibling of William Godshalk, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       64.     Kathryn Grazioso is a surviving Child of John Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       65.     Kristen Grazioso is a surviving Child of John Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-



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Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       66.     Michael Grazioso is a surviving Child of John Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by

Defendants al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       67.      Carolee Azzarello is a surviving Sibling of John Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       68.     Carolee Azarello is the Personal Representative of the Estate of Sandra

Grazioso, a surviving Parent of John Grazioso, one of the Decedents murdered as a result of the

terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       69.     Karen Ventre is a surviving Sibling of John Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       70.     Kristy Grazioso is a surviving Sibling of John Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.



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       71.     Carolee Azzarello is a surviving Sibling of John Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       72.     Douglas Halvorson is a surviving Child of James Halvorson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       73.     Kate Halvorson is the Personal Representative of the Estate of Evelyn

Halvorson, a surviving Parent of James Halvorson, one of the Decedents murdered as a result of

the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       74.     Kate Halvorson is a surviving Sibling of James Halvorson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       75.     Sean Bitterman is a surviving Step-Child (Functional Equivalent of a Child) of

Donald Havlish, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.




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       76.     Lea Bitterman is a surviving Step-Child (Functional Equivalent of a Child) of

Donald Havlish, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

       77.     Derrick Hobin is a surviving Child of James Jeffery Hobin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       78.     Ju-Hsiu Jian a/k/a Connie Jian is the Personal Representative of the Estate of

Hweidar Jian, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

       79.     Ju-Hsiu Jian a/k/a Connie Jian is the surviving Spouse of Hweidar Jian, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       80.     William Jian is a surviving Child of Hweidar Jian, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, of Hweidar Jian, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.



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       81.     Kevin Jian is a surviving Child of Hweidar Jian, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar provided material

support and assistance in furtherance of the attacks.

       82.     Anita Korsonsky is a surviving Sibling of Jeanette LaFond-Menechino, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       83.     Dina LaFond is a surviving Parent of Jeanette LaFond-Menechino, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       84.     Patricia Caloia is a surviving Sibling of Denis Lavelle, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       85.     Paul Lavelle is a surviving Sibling of Denis Lavelle, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       86.     Michael A. LoGuidice, Sr. is the Personal Representative of the Estate of

Carmello Joseph LoGuidice, a surviving Parent of Catherine Lisa LoGuidice, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried



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out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       87.     Joseph Lostrangio, Jr. is a surviving Child of Joseph Lostrangio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       88.     Cathryn Lostrangio is a surviving Child of Joseph Lostrangio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       89.     Diane Lostrangio is the Personal Representative of the Estate of James

Lostrangio, a surviving Parent of Joseph Lostrangio, one of the Decedents murdered as a result

of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       90.     Erich Maerz is a surviving Sibling of Noell Maerz, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       91.     Ramon Melendez, Jr. is a surviving Child of Mary Melendez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.



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       92.     Tyler Melendez is a surviving Child of Mary Melendez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       93.     Ricky Melendez is a surviving Child of Mary Melendez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       94.     Jesse Melendez is a surviving Child of Mary Melendez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       95.     Florence Rosario is a surviving Sibling of Mary Melendez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       96.     Margaret Montanez is a surviving Sibling of Mary Melendez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       97.     Peter C. Milano is a surviving Child of Peter T. Milano, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-




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Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       98.     Jessica Milano is a surviving Child of Peter T. Milano, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       99.     Jason Ruben Moreno f/k/a Rolando R. Moreno is a surviving Sibling of Yvette

Moreno, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

       100.    Leiana Moreno is a surviving Sibling of Yvette Moreno, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       101.    Noelia Moreno is a surviving Sibling of Yvette Moreno, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       102.    Katherine Tynion is a surviving Sibling of Robert M. Murach, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.



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       103.    Mary Ellen Murach is a surviving Parent of Robert M. Murach, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       104.     Mary Ellen Murach is the Personal Representative of the Estate of Edward

John Murach, a surviving Parent of Robert M. Murach, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar provided material

support and assistance in furtherance of the attacks.

       105.    Richard J. Murach is a surviving Sibling of Robert M. Murach, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       106.    Neal Green is a surviving Sibling of Brian Nunez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       107.    Joel Perry is the Personal Representative (Appointment Pending) of the Estate of

James Leslie Perry, a surviving Parent of John Perry, one of the Decedents murdered as a result

of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.




                                                41
       108.    Roosevelt Stallworth is a surviving Sibling of Marsha Ratchford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       109.    Carl Stallworth is a surviving Sibling of Marsha Ratchford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       110.    Angelia Stallworth-Blunt is a surviving Sibling of Marsha Ratchford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       111.    Brian Christian is a surviving Sibling of Marsha Ratchford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       112.    Amanda Rogers is a surviving Sibling of Marsha Ratchford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       113.    Diana Diaz is the Personal Representative of the Estate of Carmen Romero, a

surviving Parent of Elvin Romero, one of the Decedents murdered as a result of the terrorist

attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,



                                                42
Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

        114.   Diana Diaz is the Personal Representative of the Estate of Isaac Romero, is a

surviving Parent of Elvin Romero, one of the Decedents murdered as a result of the terrorist

attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban provided material support and assistance in furtherance of

the attacks.

        115.   Diana Diaz is a surviving Sibling of Elvin Romero, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

        116.    Loren Rosenthal is the Personal Representative of the Estate of Evan

Rosenthal, a surviving Child of Richard Rosenthal, one of the Decedents murdered as a result of

the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

        117.   Loren Rosenthal is the Personal Representative of the Estate of Seth Rosenthal,

a surviving Child of Richard Rosenthal, one of the Decedents murdered as a result of the terrorist

attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

        118.   Audrey Model is the Personal Representative of the Estate of Leonard

Rosenthal, a surviving Parent of Richard Rosenthal, one of the Decedents murdered as a result



                                                43
of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       119.    Audrey Model is the Personal Representative of the Estate of Florence

Rosenthal, a surviving Parent of Richard Rosenthal, one of the Decedents murdered as a result

of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       120.    Audrey Model is a surviving Sibling of Richard Rosenthal, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       121.    Gary Reiss is a surviving Parent of Joshua Reiss, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar provided material

support and assistance in furtherance of the attacks.

       122.    Adam Reiss is a surviving Sibling of Joshua Reiss, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       123.    Jordan Reiss is a surviving Sibling of Joshua Reiss, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-




                                                44
Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       124.    Jonathan Reiss is a surviving Sibling of Joshua Reiss, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       125.    Jennifer Reiss is a surviving Sibling of Joshua Reiss, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       126.    Alexander Rowe is the surviving Parent of Nicholas Rowe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       127.    Victor Santillan is a surviving Sibling of Maria Theresa Santillan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       128.    Raymond Santillan is a surviving Sibling of Maria Theresa Santillan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.




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       129.    Lori Brody is a surviving Sibling of Scott Schertzer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       130.    Ellen Schertzer is a surviving Parent of Scott Schertzer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by

Defendants al-Qaeda and Osama bin Laden, Deceased, that were carried out by al-Qaeda and

Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar provided material

support and assistance in furtherance of the attacks.

       131.    Patricia Sloan is a surviving Parent of Paul K. Sloan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       132.    Matt Sloan is a surviving Sibling of Paul K. Sloan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       133.    Sarah Funk is a surviving Sibling of Paul K. Sloan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       134.    Raymond Smith is the Personal Representative of the Estate of Marion

Thomas, a surviving Grandmother (Functional Equivalent of a Parent) of George Smith, one of



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the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       135.    Raymond Smith is the Personal Representative of the Estate of Deborah Sallad,

a surviving Sibling of George Smith, one of the Decedents murdered as a result of the terrorist

attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       136.    Carl Smith is a surviving Sibling of George Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       137.    Kevin Smith is a surviving Sibling of George Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       138.    Korry Smith is a surviving Sibling of George Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       139.    Tanya Warren is a surviving Sibling of George Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-




                                                47
Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       140.    Letricia Smith is a surviving Sibling of George Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       141.    Elaine Smith is a surviving Sibling of George Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       142.    Christine Jackson is a surviving Sibling of George Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       143.    Barbara Hargrove is a surviving Sibling of George Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       144.    Raymond Smith, Jr. is a surviving Sibling of George Smith, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.




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       145.    Timothy P. Soulas, Jr. is a surviving Child of Timothy Soulas, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       146.     Andrew J. Soulas is a surviving Child of Timothy Soulas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       147.    Christopher Soulas is a surviving Child of Timothy Soulas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       148.    Matthew Soulas is a surviving child of Timothy Soulas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       149.    Nicole Soulas is a surviving child of Timothy Soulas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       150.    Daniel Soulas is surviving child of Timothy Soulas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-




                                                49
Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       151.    Frederick Soulas is a surviving Parent of Timothy Soulas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       152.    Stephen Soulas is a surviving Sibling of Timothy Soulas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by

Defendants al-Qaeda and Osama bin Laden, Deceased, that were carried out by al-Qaeda and

Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar provided material

support and assistance in furtherance of the attacks.

       153.    Frederick Soulas, III is a surviving Sibling of Timothy Soulas, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       154.    Daniel D. Soulas is a surviving Sibling of Timothy Soulas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       155.    Michelle Donlan is a surviving Sibling of Timothy Soulas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.



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       156.    Aaron Straub is a surviving Child of Edward W. Straub, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       157.     Jonathan Straub, a minor surviving child of Edward W. Straub, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       158.    Michael Straub is a surviving Child of Edward W. Straub, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       159.    Samuel Straub is a surviving Child of Edward W. Straub, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       160.    Edward Straub is a surviving Parent of Edward W. Straub, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       161.    Stanley Straub is a surviving Sibling of Edward W. Straub, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-




                                                51
Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       162.    Matthew Straub is a surviving Sibling of Edward W. Straub, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       163.    Salvatore Tino, Jr. is a surviving Parent of Jennifer Tino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       164.    Jeffrey Tino is a surviving Sibling of Jennifer Tino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       165.    Salvatore Tino, III is a surviving Sibling of Jennifer Tino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       166.    Joseph Nicklo is a surviving Sibling of Jeanmarie Wallendorf, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.




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       167.    Mellanie Chafe is a surviving Sibling of Jeanmarie Wallendorf, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       168.    Christopher Barton is a surviving Sibling of Jeanmarie Wallendorf, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       169.    John Barton is a surviving Sibling of Jeanmarie Wallendorf, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       170.    Roy-Yetkutiel Shefi is a surviving son of Hagay Shefi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       171.    Naomi-Ruth Shefi is a surviving Child of Hagay Shefi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       172.    Joy Kaufman a/k/a Rina Kaufman, is a surviving Sibling of Leon Lebor, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were




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carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       173.    Joy Kaufman a/k/a Rina Kaufman is the Personal Representative of the Estate

Bessie Lebor, a surviving Parent of Leon Lebor, one of the Decedents murdered as a result of

the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       174.    Barbara Lurman is the Personal Representative of the Estate of Leon Lebor,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       175.    Barbara Lurman is a surviving Child of Leon Lebor, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       176.    Melodie Homer is the Personal Representative of the Estate of LeRoy W.

Homer, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

       177.      Melodie Homer is the surviving Spouse of LeRoy W. Homer, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried



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out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       178.    Laurel Homer is a surviving Child of LeRoy W. Homer, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       179.    Candy Moyer is the Personal Representative of the Estate of John R. Jones, a

surviving Parent of Donald W. Jones, one of the Decedents murdered as a result of the terrorist

attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       180.    Audrey R. Jones is a surviving Parent of Donald W. Jones, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       181.    Robert A. Jones is a surviving Sibling of Donald W. Jones, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       182.    Candy Jones Moyer is a surviving Sibling of Donald W. Jones, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.



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       183.    Amy Martinez is the Personal Representative of the Estate of Louis Nacke, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       184.     Amy Martinez is the surviving Spouse of Louis Nacke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       185.    Tanya Davis is the Personal Representative of the Estate of Wayne T. Davis,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       186.    Tanya Davis is the surviving spouse of Wayne T. Davis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       187.    Gabrielle Hunter Davis is a surviving Child of Wayne T. Davis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       188.    Malachai Roarke Davis is a surviving Child of Wayne T. Davis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried




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out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       189.    Noverta Davis-Dean is the Parent of Wayne T. Davis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       190.    Johnny Mistrulli and Maria Lambert are co-Personal Representatives of the

Estate of Anne Mistrulli, a surviving Parent of Joseph D. Mistrulli, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       191.    Johnny Mistrulli is the surviving Sibling of Joseph D. Mistrulli, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       192.    Maria Lambert is the surviving Sibling of Joseph D. Mistrulli, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       193.    Karen Lunder is the Personal Representative of the Estate of Christopher E.

Lunder, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the




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Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

       194.    Karen Lunder is the surviving spouse of Christopher E. Lunder, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       195.    Herman Ray is a surviving Sibling of Denease Conley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       196.    Herman Ray is the Personal Representative of the Estate of Denease Conley,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       197.    Cherrie L. Allen is a surviving Sibling of Denease Conley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       198.    Irma Joyce Fletcher is a surviving Sibling of Denease Conley, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.




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        199.      Myra Byrd is the Personal Representative of the Estate of Earl Ray, a Sibling of

Denease Conley, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

        200.      Barbara Haynes-Jenkins is a surviving Sibling of Denease Conley, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

        201.      Herman Ray is the Personal Representative of the Estate of James Ray, a

Sibling of Denease Conley, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to

which the Taliban and Muhammad Omar provided material support and assistance in furtherance

of the attacks.

        202.      Odetta Heywood is the Personal Representative of the Estate of Stanley Ray, a

surviving Sibling of Denease Conley, one of the Decedents murdered as a result of the terrorist

attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

        203.      Aaron Adler is a surviving Sibling of Lee Alan Adler, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.



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       204.    Alice Doerge Adler is the surviving Spouse of Lee Alan Adler, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       205.    Alice Doerge Adler is the Personal Representative of the Estate of Lee Alan

Adler, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       206.    Isabell Dansiger Adler is a surviving Parent of Lee Alan Adler, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       207.    Jay Adler is a surviving Sibling of Lee Alan Adler, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       208.    Lauren Sarah Adler Martinelli is a surviving Child of Lee Alan Adler, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       209.    Anita DeBlase is a surviving Parent of James V. DeBlase, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-




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Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       210.     Anthony DeBlase is a surviving Sibling of James V. DeBlase, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       211.    Richard DeBlase is a surviving Sibling of James V. DeBlase, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       212.    Marianna Garfi is a surviving Parent of Francesco Garfi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       213.    Salvatore Garfi is a surviving Parent of Francesco Garfi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       214.    Vito Garfi is a surviving Sibling of Francesco Garfi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.




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       215.    Vito Garfi is the Personal Representative of the Estate of Francesco Garfi,

Deceased, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

       216.    Hank Grazioso is a surviving Parent of John Grazioso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       217.    Theresa Cooke is a surviving Sibling of LeRoy W. Homer, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       218.    Michelle Hargis is a surviving Sibling of LeRoy W. Homer, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       219.    Christine Homer is a surviving Sibling of LeRoy W. Homer, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       220.    Christine Homer is the Personal Representative of the Estate of Thomas

Freimark, a Sibling of LeRoy W. Homer, one of the Decedents murdered as a result of the



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terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       221.    Ilse Homer is a surviving Parent of LeRoy W. Homer, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       222.    Monique Homer is a surviving Sibling of LeRoy W. Homer, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       223.    Marilyn Johnson is a surviving Sibling of LeRoy W. Homer, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       224.    Cheryl Homer Wilson is a surviving Sibling of LeRoy W. Homer, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       225.    Germaine Wilson is a surviving Sibling of LeRoy W. Homer, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.



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       226.    Andrew Brian Jordan, Jr., is a surviving Child of Andrew Brian Jordan, Sr.,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       227.    David Lebor is a surviving Sibling of Leon Lebor, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       228.    Rina Kaufman a/k/a/ Joy Kaufman is the Personal Representative of the Estate

of Philip Lebor, a Parent of Leon Lebor, one of the Decedents murdered as a result of the

terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       229.    Danielle McGuire is the surviving Spouse of Patrick McGuire, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       230.    Danielle McGuire is the Personal Representative of the Estate of Patrick

McGuire, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.




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       231.    Mara McGuire is a surviving Child of Patrick McGuire, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       232.    Ryan McGuire is a surviving Child of Patrick McGuire, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       233.     Sean McGuire is a surviving Child of Patrick McGuire, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       234.    Shea McGuire is a surviving Child of Patrick McGuire, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       235.    AnneMarie Medaglia is a surviving Parent of Rocco Medaglia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried



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out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       236.    Diana Medaglia is a surviving Child of Rocco Medaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       237.    Kathleen Medaglia-Dellapenna is a surviving Sibling of Rocco Medaglia, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and

Muhammad Omar provided material support and assistance in furtherance of the attacks.

       238.    MaryEllen Medaglia is a surviving Sibling of Rocco Medaglia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       239.    Michael Medaglia is a surviving Sibling of Rocco Medaglia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       240.    Elizabeth Medaglia-Cordes is a surviving Child of Rocco Medaglia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.




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       241.    Elizabeth Medaglia-Cordes is the Personal Representative of the Estate of

Rocco Medaglia, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

       242.    Joanne Mistrulli is the Personal Representative of the Estate of Frank

Mistrulli, a surviving Sibling of Joseph D. Mistrulli, one of the Decedents murdered as a result

of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.

       243.    Paula Nacke Jacobs is a surviving Sibling of Louis J. Nacke, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       244.    Dale Allen Nacke is a surviving Sibling of Louis J. Nacke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       245.    Dale Allen Nacke is the Personal Representative of the Estate of Louis P.

Nacke, who was a Parent of Louis J. Nacke, one of the Decedents murdered as a result of the

terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

Deceased, and to which the Taliban and Muhammad Omar provided material support and

assistance in furtherance of the attacks.



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       246.    Dale Allen Nacke is the Personal Representative of the Estate of Philomena

Millace Nacke, who was a Parent of Louis J. Nacke, one of the Decedents murdered as a result

of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

Laden, Deceased, and to which the Taliban provided material support and assistance in

furtherance of the attacks.

       247.    Joseph Nicholas Nacke is a surviving Child of Louis J. Nacke, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       248.    Kenneth Nacke is a surviving Sibling of Louis J. Nacke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       249.    Louis Paul Nacke, II is a surviving Child of Louis J. Nacke, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       250.    Thomas Papasso is a surviving Sibling of Salvatore T. Papasso, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       251.    Patricia Mason is a surviving Sibling of Sandra Wright-Cartledge, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried



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out by al-Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad

Omar provided material support and assistance in furtherance of the attacks.

       252.    James Casazza is a surviving Sibling of John F. Casazza, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       253.    Debra Zeplin is the Personal Representative of the Estate of Marc Scott Zeplin,

Deceased, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, Deceased, and to which the

Taliban and Muhammad Omar provided material support and assistance in furtherance of the

attacks.

       254.    Debra Zeplin is the surviving Spouse of Marc Scott Zeplin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       255.    Ethan Zeplin is a surviving Child of Marc Scott Zeplin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       256.    Ryan Zeplin is a surviving Child of Marc Scott Zeplin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.



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       257.    Daniel R. Maher is a surviving Child of Daniel L. Maher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       258.    Joseph F. Maher is a surviving Child of Daniel L. Maher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

Qaeda and Osama bin Laden, Deceased, and to which the Taliban and Muhammad Omar

provided material support and assistance in furtherance of the attacks.

       259.    All of the above Plaintiffs are citizens of the United States.

                                         DEFENDANTS

       260.    Defendant Al Qaeda, a/k/a Al Qaeda Islamic Army (hereinafter “Al Qaeda”) is

an unincorporated association and terrorist organization dedicated to the destruction of the United

States and its citizens. At relevant times, the Al Qaeda organization was headquartered in

Afghanistan with the and involved a cluster of military-ideological camps dedicated to their goal

of establishing a universal Islamic state through the use of violence. Al Qaeda maintains terrorist

cells throughout the world.

       261.    Defendant Al Qaeda was founded, headed and directed by Defendant Sheikh

Usamah bin-Muhammad bin-laden, Deceased a/k/a Osama Bin Laden, Deceased. Bin Laden

was reported by the U.S. Government to have been killed during a raid by United States military

forces on his compound in Abbottabad, Pakistan on May 2, 2011. In addition to Bin Laden, certain

individuals were responsible for the direction and management of Al Qaeda’s terrorist activities,

including the terrorist attacks of September 11, 2001. Those individuals acted both individually

and as agents, instrumentalities, officials, representatives, officers and employees of Al Qaeda in



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exporting terror to the United States and other countries.

        262.    Defendant Al Qaeda uses violence, bombings, murder, mayhem and other terrorist

tactics in order to pursue its unlawful objectives. At relevant times, Al Qaeda was supported,

controlled, funded, protected, aided and abetted by all Defendants named herein, particularly its

leader, bin Laden, the Taliban, Muhammad Omar, and their instrumentalities, agents, officials and

employees.

        263.    Bin Laden and al-Qaeda violently opposed the United States for several reasons.

First, the United States was regarded as an “infidel nation” because it was not governed in a manner

consistent with the group's extremist interpretation of Islam. Second, the United States was viewed

as providing essential support for other “infidel” governments and institutions. Third, al-Qaeda

opposed the involvement of the United States armed forces in the Gulf War in 1991 and in

Operation Restore Hope in Somalia in 1992 and 1993. In particular, al-Qaeda opposed the

continued presence of American military forces in Saudi Arabia (and elsewhere on the Arabian

peninsula) following the Gulf War. Fourth, al-Qaeda opposed the United States Government

because of the arrest, conviction, and imprisonment of persons belonging to al-Qaeda or its

affiliated terrorist groups or those with whom it worked. For these and other reasons, bin Laden

declared jihad, or holy war, against the United States, which he carried out through al-Qaeda and

its affiliated organizations.

        264.    At relevant times, al-Qaeda functioned both on its own and through terrorist

organizations that operated under its umbrella, including Egyptian Islamic Jihad, which was led

by Ayman al-Zawahiri, the Islamic Group (also known as “el Gamaa el Islamia” or simply

“Gamaa’t”), and a number of jihadi groups in other countries, including the Sudan, Egypt, Saudi

Arabia, Yemen, Somalia, Eritrea, Djibouti, Afghanistan, Pakistan, Bosnia, Croatia, Albania,



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Algeria, Tunisia, Lebanon, the Philippines, Tajikistan, Azerbaijan, the Kashmiri region of India,

and the Chechnyan region of Russia. Al-Qaeda also maintained cells and personnel in a number

of countries to facilitate its activities, including Kenya, Tanzania, the United Kingdom, Germany,

Canada, Malaysia, and the United States.

       265.    Al-Qaeda had a command and control structure which included a “majlis al shura”

(or consultation council) which discussed and approved major undertakings, including terrorist

operations. Al-Qaeda also had a “military committee” which considered and approved “military”

matters. These matters were generally terrorist activities, not conventional military activities.

One of the principal goals of al-Qaeda was to drive the United States armed forces out of Saudi

Arabia (and elsewhere on the Arabian peninsula) and Somalia by violence. These goals eventually

evolved into a declaration of jihad (holy war) against America and all Americans. Members of al-

Qaeda issued fatwahs (rulings on Islamic law) indicating that such attacks on Americans were both

proper and necessary.

       266.    Like Iran, al-Qaeda and bin Laden used terrorism as an instrument of policy, as a

tool to be used to further political objectives. Al-Qaeda has, over the years, directly carried out

murders, bombings, and other terrorist acts against its enemies. It has also provided direct and

indirect support to other international terrorist groups and received support in return, often in the

form of money, training, sanctuary, documentation, intelligence, weapons, and other types of

assistance.

       267.    At all relevant times, as of 1996, Defendant the Taliban was a political regime

operating as the Islamic Emirate of Afghanistan. The Taliban was an unincorporated association

described by the U.S. Department of Treasury, Office of Foreign Asset Control (“OFAC”) in its

Overview of Sanctions Regulations as: “(1) the political/military entity headquartered in



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Kandahar, Afghanistan that, as of October 21, 1999, exercised de facto control over Kandahar,

Farah, Helmund, Nimruz, Herat, Badghis, Ghowr, Oruzghon, Zabol, Paktiha, Ghanzi, Nangarhar,

Lowgar, Vardan, Faryab, Jowlan, Balkh, Paktiha, and Kabul; (2) its agencies and instrumentalities;

(3) associated blocked persons, as determined by the U.S. Department of the Treasury and

published in the Federal Register, and listed on OFAC’s list of ‘Specially Designated Nationals

and Blocked Persons’ (the SDN List).”

       268.      The Taliban, from 1996 until the U.S. invasion in 2001 following the terrorist

attacks, governed the vast majority of the population of Afghanistan. The term “Taliban” means

“pupils” or “students” and is used for those seminarians or students of religious schools who are

politically and militarily active in militant Islamic groups. The Taliban movement started among

the Afghan refugees trained in the religious schools of Pakistan financed by private Saudi funding.

Motivated by religious fervor and supplied by Pakistani army intelligence, these

seminarians/students were organized by the Taliban into a fighting force. The Afghan Civil War

enabled the Taliban’s gradual takeover of Afghanistan. The Taliban regime imposed their ultra-

purest vision of Islam with strict religious doctrine. Accordingly, the Taliban regime was deeply

hostile to women, Shiites, and minorities. The Taliban eliminated all aspects of modern culture

and human rights, and it suppressed any form of dissent.

       269.    Defendant Muhammad Omar (“Omar”) founded the Taliban in 1996. Since then,

Omar was the leading member of the Taliban’s six-member ruling council and was reportedly

responsible for all financial matters.    Initially, Muhammad Omar was an obscure guerilla

commander during the Afghan Civil War. However, by 1994, Omar had a following of thousands

motivated by religious militancy and proceeded by 1996 to oust the Soviets from Afghanistan and

he prevailed over Afghan tribal warlords competing for power. Known as “Commander of the



                                                73
Faithful,” Omar, individually and through the Taliban organization which he controlled, Omar

supplied material support to Al Qaeda and Bin Laden in furtherance of their terrorist plans to

murder Americans, plans in which Omar and the Taliban were complicit. The activities of Omar

as described herein were outside the scope of immunity, if any, provided by the Foreign Sovereign

Immunities Act and related statutes.

       270.    In conducting his terrorist activities, Omar received financial, logistical, and other

material support from foreign states.

       271.     Defendants the Taliban and Omar willfully engaged in acts of terrorism, murder,

mayhem, and/or the provision of material support and/or resources for said acts, within the borders

of Afghanistan, the United States, and other countries, and across state and national boundaries as

described more fully herein. The end result of those activities was the murder of all Decedents on

September 11, 2001.

       272.    Following the U.S. invasion of Afghanistan in 2001, the Taliban’s activities were

disrupted and a new Afghan government was installed in allyship with the United States.

       273.     During the withdrawal of U.S. troops from Afghanistan in August 2021, the

Taliban once again took control of Afghanistan in only a single weekend.

                                  FACTUAL BACKGROUND

                                Osama bin Laden and al-Qaeda

       274.    In or about 1989, Osama bin Laden, Muhammad Atef, and others founded an

international terrorist group that became known as al-Qaeda. Osama bin Laden was the “emir”

(prince) of al-Qaeda and was its leader at all relevant times. Members of al-Qaeda pledged an

oath of allegiance (called a “bayat”) to Osama bin Laden and al-Qaeda.

       275.    From 1989 until about 1991, al-Qaeda was headquartered in the Islamic Emirate



                                                74
of Afghanistan and Peshawar, Pakistan.

         276.   Osama Bin Laden, a Saudi citizen, was expelled from the Kingdom of Saudi

Arabia in 1991. In or about 1991, Hassan al-Turabi, leader of Sudan’s ruling National Islamic

Front party, allowed Osama Bin Laden entrance into Sudan. During this time period, Sudan

abandoned visa requirements for Arabs and actively encouraged Islamic militants to live within

its borders. By the end of 1991, there were between 1,000 and 2,000 members of al-Qaeda in

Sudan.

         277.   Al-Qaeda was headquartered in the Sudan from 1991 until approximately 1996.

During that time, Osama bin Laden was able to establish a powerful military and political

presence in Sudan, using a variety of business ventures to finance his activities.

         278.   In 1996, Osama bin Laden and other members of al-Qaeda relocated to the

Islamic Emirate of Afghanistan. From 1996 until 2001, bin Laden and al-Qaeda sponsored,

managed, and/or financially supported training camps in Afghanistan. These camps were used to

instruct members and associates of al-Qaeda and its affiliated terrorist groups in the use of

firearms, explosives, chemical weapons, and other weapons of mass destruction. In addition to

providing training in the use of various weapons, these camps were used to conduct operational

planning against United States targets around the world and experiments in the use of chemical

and biological weapons. These camps were also used to train al-Qaeda members in security and

counterintelligence methods, such as the use of codes and passwords, and to teach members and

associates of al-Qaeda about traveling to perform operations. For example, al-Qaeda instructed

its members and associates to dress in Western attire and to use other methods to avoid detection

by security officials. The group also taught its members and associates to monitor media reports

of its operations to determine the effectiveness of their terrorist activities.



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       279.    During the time from about 1996 until 2001 when al-Qaeda operated from its

headquarters in Afghanistan, bin Laden and al-Qaeda forged close relations with the ruling

regime, the Taliban, and Taliban leader Muhammad Omar. Bin Laden openly informed other al-

Qaeda members and associates outside Afghanistan of their support of, and alliance with, the

Taliban and Omar.

       280.    Al-Qaeda has often used operatives such as the hijackers to actively engage in

terrorist activities against the United States and its citizens. In conducting those terrorist

activities, al-Qaeda received financial, logistical, and other material support from the Taliban as

well as from Iran other foreign states.

       281.    At times relevant hereto, Osama Bin Laden and al-Qaeda committed and

threatened to commit acts of violence and terror against the United States and its citizens. The

Taliban, operating as the Islamic Emirate of Afghanistan, and others aided these terrorist

schemes by, among other things, allowing territory under their control to be used as a safe haven

and base of operations for Osama Bin Laden and the al-Qaeda organization. In 1999, the United

States government recognized that these activities constituted an unusual and extraordinary

threat to the nation’s security and foreign policy. President Clinton issued Executive Order No.

13129, declaring a national emergency to deal with that threat. EO 13129, issued under the

authority of International Emergency Economic Powers Act (50 U.S.C. §§ 1701-1706)

(“IEEPA”), the National Emergencies Act (50 U.S.C. § 1601 et seq.) and §301 of Title 3, United

States Code, imposed an asset freeze against the Taliban. That asset freeze was subsequently

continued by President George W. Bush through a Presidential Order issued on July 2, 2001.

       282.    Statements of U.S. officials and government reports demonstrate how the

expansive support provided by the Taliban and Muhammad Omar enabled Osama bin Laden to



                                                  76
build and sustain the al-Qaeda organization, and acquire the resources and assets necessary to

carry out the September 11th attacks.

       283.     In this regard, the 9/11 Commission expressly found that the “9/11 attack was a

complex international operation, the product of years of planning.” See 9/11 Commission Final

Report at p. 365.

       284.     The 9/11 Commission’s Final Report further states that plans for the attacks were

carefully vetted through al-Qaeda’s most senior leadership over a period of nearly six years,

while those leaders were safely ensconced in training camps and safe houses provided by the

Taliban and funded by al-Qaeda’s financial supporters; that the individuals selected to participate

in the attacks were chosen from an enormous pool of potential candidates, all of whom were

recruited, trained, and indoctrinated with funds provided by the organization’s supporters; and

that details of the plans were revised up until the last minute, through a sophisticated global

communication network capable of evading the surveillance and intelligence operations of the

United States and its allies, the development and existence of which was also dependent on the

financial sponsorship of al-Qaeda’s supporters.

       285.     The cost of maintaining this essential infrastructure in the years immediately

leading up to the September 11th attacks was massive. For example, al-Qaeda’s budget included

$20 million in payments to the Taliban alone, in exchange for the safe haven the Taliban

provided to al-Qaeda, from which al-Qaeda planned, coordinated, and directed the September

11th attacks.

       286.     Based on these and other findings of its investigation concerning the relationship

between al-Qaeda’s global infrastructure and the organization’s operational capability to plan,

coordinate and mount the September 11th attacks, the 9/11 Commission reached the following



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conclusions regarding the basic organizational and support requirements for staging a

sophisticated terrorist attack:

          •    A complex international terrorist operation aimed at launching a catastrophic attack
               cannot be mounted by just anyone in any place.

          •    Such operations appear to require time, space, and ability to perform competent
               planning and staff work;

          •    a command structure able to make necessary decisions and possessing the authority
               and contacts to assemble needed people, money, and materials;

          •    opportunity and space to recruit, train, and select operatives with the needed skills
               and dedication, providing the time and structure required to socialize them into the
               terrorist cause, judge their trustworthiness, and hone their skills;

          •    a logistics network able to securely manage the travel of operatives, move money,
               and transport resources (like explosives) where they need to go;

          •    reliable communications between coordinators and operatives; and

          •    opportunity to test the workability of the plan.

                                                See 9/11 Commission Final Report at pp. 365-66.



        287.    Defendants the Taliban and Muhammad Omar provided bin Laden and al-Qaeda

with much of the basic organizational and support requirements identified by the 9/11

Commission. In addition to providing a safe haven where al-Qaeda had the time, space, and ability

to conduct the training and staff work needed to plan, coordinate, and direct the September 11th

attacks, the Taliban and Muhammad Omar were directly involved in al-Qaeda’s tactical

operations. For example, documents recovered from the personal files of Muhammad Omar

following the September 11th attacks indicate that on November 21, 1999, Omar instructed the

Afghan Ambassador in Pakistan to distribute “$2 million from Saudi aids” to Jon Juma

Namangani, a close associate of Osama bin Laden who was then serving as al-Qaeda’s commander


                                                  78
in Uzbekistan.

        288.     Thus from about 1989, Defendants herein, and in conjunction with others,

unlawfully, willfully, and knowingly combined, conspired, confederated, and agreed to kill and

maim persons within the United States, and to create a substantial risk of serious bodily injury to

other persons by destroying and damaging structures and other real and personal property within

the United States.

        289.     In furtherance of this conspiracy, Defendants utilized facilities of interstate and

foreign commerce, often through illegal means. The intended victims of this conspiracy were

United States citizens, the United States Government, and the property of the United States and its

citizens. The conspiracy resulted in the deaths of the Decedents on September 11, 2001.

In furtherance of the conspiracy, and to effect its objects, Defendants committed the following

acts:

                 a.        The Taliban/Islamic Emirate of Afghanistan, Muhammad Omar, Osama

                 Bin Laden and others, provided training camps and guesthouses in territory

                 controlled by the Taliban in Afghanistan, including camps known as Khalden,

                 Derunta, Khost, Siddiq, and Jihad Wal, for the use of al-Qaeda and its affiliated

                 groups.

                 b.        The Taliban/Islamic Emirate of Afghanistan, Muhammad Omar, Osama

                 Bin Laden and others, provided military and intelligence training to al-Qaeda and

                 its affiliated groups at camps and other locations within Afghanistan.

                 c.        The Taliban/Islamic Emirate of Afghanistan, Muhammad Omar, Osama

                 Bin Laden and others, engaged in financial and business transactions on behalf of

                 al-Qaeda, including, but not limited to: purchasing land for training camps;



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              purchasing warehouses for storage of items, including weapons and explosives;

              purchasing communications and electronics equipment; transferring funds between

              corporate accounts; and transporting currency and weapons to members of al-

              Qaeda and its associated terrorist organizations in various locations inside and

              outside Afghanistan.

       290.   On September 11, 2001, five al-Qaeda operatives – Mohammed Atta, Abdul Aziz

Alomari, Satam Al Suqami, Waleed M. Alshehri and Wail Alshehri – hijacked American Airlines

Flight 11, a Boeing 767, which had departed Boston at approximately 7:59 a.m. They flew Flight

11 into the North Tower of the World Trade Center in Manhattan at approximately 8:45 a.m.,

causing the collapse of the tower and the deaths of Decedents.

       291.   On September 11, 2001, five al-Qaeda operatives – Hamza Alghamdi, Fayez

Banihammad, Mohand Alshehri, Ahmed Alghamdi, and Marwan al-Shehhi – hijacked United

Airlines Flight 175, a Boeing 767, which had departed from Boston at approximately 8:14 a.m.

They thereafter flew Flight 175 into the South Tower of the World Trade Center in Manhattan at

approximately 9:03 a.m., causing the collapse of the tower and the deaths of Decedents.

       292.    On September 11, 2001, five al-Qaeda operatives – Khalid Almihdhar, Majed

Moqed, Nawaf Alhazmi, Salem Alhazmi, and Hani Hanjour – hijacked American Airlines Flight

77, a Boeing 757, which had departed from Virginia bound for Los Angeles, at approximately 8:10

a.m. They flew Flight 77 into the Pentagon in Virginia at approximately 9:37 a.m., causing the

deaths of Decedents.

       293.   On September 11, 2001, four al-Qaeda operatives – Saeed Alghamdi, Ahmed

Alnami, Ahmed Al Haznawi, and Ziad Jarrah – hijacked United Airlines Flight 93, a Boeing 757,

which had departed Newark, New Jersey bound for San Francisco at approximately 8:42 a.m.



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After resistance by the passengers, Flight 93 crashed in Shanksville, Somerset County,

Pennsylvania at approximately 10:06 a.m., killing Decedents.

       294.      The hijackers used box cutters and knives to commit air piracy and murder on

behalf of, and with the aid and assistance of, Osama Bin Laden, the Taliban, Muhammad Omar,

and al-Qaeda.

       295.     The September 11, 2001 attacks were the culmination of a conspiracy among all

Defendants, and others, to plan, finance, support, and execute terrorist murder.

       296.      As a direct and proximate result of the intentional, willful, reckless, and careless

actions of the Defendants, all Plaintiffs have suffered severe and permanent personal injuries,

damages, and losses, including the following:

       (a)      Decedents’ fear of death prior to the crash into and collapse of the World Trade

                Center Towers, the crash into the Pentagon, and the crash of United Airlines Flight

                93;

       (b)      the severe mental anguish suffered by Decedents and all Plaintiffs;

       (c)      the severe pain and suffering suffered by Decedents and all Plaintiffs;

       (d)      the inability of all Decedents to perform the usual household and personal activities

                that they normally would have performed through the remainder of their natural life

                expectancies;

       (e)      loss of Decedents’ earnings and future earning potential;

       (f)      loss of Decedents’ life and life’s pleasures;

       (g)      loss of consortium and/or companionship;

       (h)      costs relating to managing the estates of all Decedents; and

       (i)      death of the Decedents by way of murder as a result of the Defendants’ conduct and



                                                 81
                that of their co-conspirators.

        297.    The deaths, personal injuries and losses experienced by the Plaintiffs were caused

by the intentional outrageous acts, recklessness, and carelessness of all Defendants, acting

individually and in concert, and of their agents, servants, employees, agencies and

instrumentalities, acting within and during the course and scope of their employment, authority, or

apparent authority.

        298.    Defendants Osama Bin Laden, al-Qaeda, and the Taliban, have been purposely

singled out by the President of the United States as entities that commit, threaten to commit, or

support terrorism, specifically including those acts which resulted in the September 11, 2001,

murders. These Defendants conspired among themselves to plan and commit the 9/11 attacks that

caused the death of Decedents and the related injuries to all Plaintiffs. Accordingly, all Defendants

are subject to liability to the Plaintiffs.

                                     COUNT ONE
                            PLAINTIFFS v. ALL DEFENDANTS
                        VIOLATION OF THE ANTI-TERRORISM ACT
                                    18 U.S.C. §2333

        299.    Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

        300.    The Defendants herein engaged in acts of international terrorism, defined at 18

U.S.C. as §2331 as activities that involve violent acts dangerous to human life that are in violation

of the criminal law of the United States and appear to be intended to intimidate or coerce a civilian

population; to influence policy of a government by intimidation or coercion; or to affect the

conduct of a government by mass destruction and assassination.

        301.     Defendants’ activities transcended international boundaries in terms of the means

by which they were accomplished and the persons they intended to intimidate or coerce.

                                                  82
        302.   Pursuant to 18 U.S.C. §2333(a), a national of the United States injured in his or her

person, property or business by reason of an act of international terrorism, or his or her estate,

survivors, or heirs, may sue therefore in any appropriate district court of the United States and

shall recover threefold the damages he or she sustains and the costs of suit, including attorneys’

fees.

        303.   Pursuant to 18 U.S.C. §2333(d)(2), in an action under subsection (a) for an injury

arising from an act of international terrorism committed, planned, or authorized by an organization

that had been designated as a foreign terrorist organization under section 219 of the Immigration

and Nationality Act (8 U.S.C. §1189), as of the date on which such act of international

terrorism was committed, planned, or authorized, liability may be asserted as to any person who

aids and abets, by knowingly providing substantial assistance, or who conspires with

the person who committed such an act of international terrorism.

        304.   At the time of the September 11, 2001 attacks, al-Qaeda was designated as a foreign

terrorist organization under section 219 of the Immigration and Nationality Act.

        305.   During the decade preceding the September 11th attacks, al-Qaeda repeatedly made

clear, through both declarations and actions, its intent to use funds and resources provided to it to

conduct large scale terrorist attacks in order to kill innocent civilians, destroy property on a mass

scale, and cause catastrophic economic harm.

        306.   The relentless campaign by al-Qaeda and its material supporters to carry out

terrorist attacks against the United States and its citizens, which culminated in the September 11th

attacks, involved continuous acts of violence and acts dangerous to human life, that violate the

criminal laws of the United States, including the prohibitions set forth in 18 U.S.C. § 2332. See

18 U.S.C. § 2332b(a) (prohibiting conduct transcending national boundaries: killing or attempting



                                                 83
to kill persons within the United States; causing serious bodily injury or attempting to cause serious

bodily injury to persons within the United States; destroying or damaging any structure,

conveyance, or other real or personal property within the United States; or attempting or conspiring

to destroy any or damage any structure conveyance, or other real or personal property within the

United States).

       307.       As set forth above, Defendants knowingly provided material support, resources,

and substantial assistance to, and conspired with, al-Qaeda over many years, with an intent to

further al-Qaeda’s campaign to carry out terrorist attacks against the United States and its citizens

on September 11, 2001.

       308.       The material support Defendants provided to al-Qaeda, as described above, enabled

al Qaeda to acquire the global strike capabilities employed on September 11, 2001, and was

essential to al-Qaeda’s ability to carry out the attacks.

       309.       The September 11th attacks were a direct and foreseeable result of Defendants’

provision of material support to and sponsorship of al-Qaeda.

Plaintiffs suffered personal injuries by reason of the September 11th attacks and Defendants’

tortious acts in support of al-Qaeda.

       310.       Through the tortious acts in support of al-Qaeda described above, Defendants aided

and abetted, and conspired with, al-Qaeda to carry out acts of international terrorism against the

United States and its citizens on September 11, 2001, in violation of United States criminal and

civil laws set forth at 18 U.S.C. §§ 2332(a), 2332(b), 2332(c), and 2333.

       311.       Defendants also agreed to combine and conspire with al-Qaeda and other persons

to act unlawfully, in the manners set forth in this complaint, and committed overt acts in

furtherance of the conspiracy. At all relevant times, Defendants knew of the conspiracy and of the



                                                  84
roles of the al-Qaeda elements they were supporting in furtherance of the conspiracy.

       312.    Pursuant to 18 U.S.C. § 2333, Defendants are jointly and severally liable for

Plaintiffs’ injuries and Plaintiffs are entitled to recover threefold the amount of damages they have

sustained.

       WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants jointly,

severally, and/or individually, for compensatory and punitive damages in excess of One Billion

Dollars ($1,000,000,000) as follows:

       (a)     Economic damages to each 9/11 Decedent Estate in accordance with the
               methodology the Court found to be appropriate in Havlish, et al. v. bin Laden, et
               al., civil action no. 03-9848;

       (b)     Non-economic damages of $2,000,000 per 9/11 Decedent Estate as established by
               the Havlish damages paradigm;

       (c)     Solatium damages for individual surviving family members as established by the
               Havlish solatium damages paradigm;

       (d)     Treble damages;

       (e)     Punitive damages; and

       (f)     Pre- and post-judgment interest, attorney’s fees, costs of this action and such other
               and further relief as the Court may deem appropriate under the circumstances.


                              COUNT TWO
       PLAINTIFFS v. MUHAMMAD OMAR and OSAMA BIN LADEN, DECEASED
             TORTURE VICTIM PROTECTION ACT of 1991 (“TVPA”)
                           28 U.S.C. § 1350 note.

       313.    Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

       314.    The purpose of the TVPA is “[t]o carry out obligations of the United States under

the United Nations Charter and other international agreements pertaining to the protection of

human rights by establishing a civil action for recovery of damages from an individual who

                                                  85
engages in torture and extrajudicial killing.” 28 U.S.C. § 1350 note.

       315.     The TVPA establishes a federal cause of action against “any individual, under

actual or apparent authority, or color of law, of any foreign nation, [who] subjects an individual to

extrajudicial killing.” TVPA § 2(a)(2). See also H.R. 102-367.

       316.      For purposes of the TVPA, an “extrajudicial killing” is defined as “a deliberated

killing not authorized by a previous judgment pronounced by a regularly constituted court

recognizing all the judicial guarantees that are recognized as indispensable as civilized peoples.”

TVPA § 3(a).

       317.     The TVPA provides that anyone who subjects an individual to an extrajudicial

killing “shall, in a civil action, be liable for damages to the individual’s legal representative, or to

any person who may be a claimant in an action for wrongful death.” TVPA § 2(a)(2).

       318.      Osama bin Laden and the Taliban, through its leader Muhammad Omar, provided

material support and resources to al-Qaeda in furtherance of the murderous acts of the al-Qaeda

hijackers. Those Defendants subjected the Decedents to extrajudicial killing.

       319.     The injuries and damages suffered by Plaintiffs as a result of the extrajudicial

killing of Decedents, and the consequences resulting therefrom, were proximately caused by the

intentional and reckless acts of all Defendants as described herein.

       320.     As a result of the Defendants’ murderous conduct, the 9/11 Decedents and all

Plaintiffs suffered damages as fully set forth in the paragraphs above which are incorporated herein

by reference.

       WHEREFORE, Plaintiffs demand judgment in their favor against Muhammad Omar and

Osama bin Laden, Deceased, jointly, severally, and/or individually, for compensatory and punitive

damages in excess of One Billion Dollars ($1,000,000,000) as follows:



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               (g) Economic damages to each 9/11 Decedent Estate in accordance with the
                   methodology the Court found to be appropriate in Havlish, et al. v. bin Laden,
                   et al., civil action no. 03-9848;

               (h) Non-economic damages of $2,000,000 per 9/11 Decedent Estate as established
                   by the Havlish damages paradigm;

               (i) Solatium damages for individual surviving family members as established by
                   the Havlish solatium damages paradigm;

               (j) Punitive damages; and

               (k) Pre- and post-judgment interest, attorney’s fees, costs of this action and such
                   other and further relief as the Court may deem appropriate under the
                   circumstances.


                                    COUNT THREE
                             PLAINTIFFS v. ALL DEFENDANTS
                                  WRONGFUL DEATH

       321.    Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

       322.    Plaintiffs herein bring this action for the wrongful deaths that Defendants

proximately caused by engaging in, materially supporting or sponsoring, financing, aiding and

abetting, scheming and/or otherwise conspiring to commit or cause to occur acts of murder and

wrongful death, specifically, the mass murder committed by the terrorist attacks acts of September

11, 2001.

       323.    The acts of Defendants in providing material aid and support to al-Qaeda in

carrying out the terrorist attacks were the proximate cause of the wrongful deaths of the 9/11

Decedents.

       324.    The actions of Defendants, acting in concert to carry out their unlawful objectives,

were malicious, outrageous and in willful, wanton, and reckless disregard of the rights of the 9/11

Decedents and all Plaintiffs. Defendants, acting individually and jointly, intended to carry out

                                                  87
actions that would end the lives of the Decedents.

       325.    As a result of their intentional, malicious, outrageous, willful and wanton conduct,

Plaintiffs suffered injuries and incurred damages as described herein.

Defendants are jointly and severally liable to all Plaintiffs for compensatory and punitive damages.

       WHEREFORE, Plaintiffs demand judgment in their favor against Defendants, jointly,

severally, and/or individually, for compensatory and punitive damages in excess of One Billion

Dollars ($1,000,000,000) as follows:

       (a)     Economic damages to each 9/11 Decedent Estate in accordance with the
               methodology the Court found to be appropriate in Havlish, et al. v. bin Laden, et
               al., civil action no. 03-9848;

       (b)     Non-economic damages of $2,000,000 per 9/11 Decedent Estate as established by
               the Havlish damages paradigm;

       (c)     Solatium damages for individual surviving family members as established by the
               Havlish solatium damages paradigm;

       (d)     Punitive damages; and

       (e)     Pre- and post-judgment interest, attorney’s fees, costs of this action and such other
               and further relief as the Court may deem appropriate under the circumstances.


                                     COUNT FOUR
                             PLAINTIFFS v. ALL DEFENDANTS
                                      SURVIVAL

       326.    Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

       327.    Plaintiffs bring this action for damages suffered by the Decedents and caused by

the Defendants’ conduct. As a result of the intentional and negligent acts of the Defendants as

described above, the Decedents were placed in apprehension of harmful and offensive bodily

contact (assault), suffered offensive and harmful bodily contact (battery), suffered extreme fear,



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anxiety, emotional and psychological distress (intentional/negligent infliction of emotional

distress), and were mentally and physically harmed, trapped, and falsely imprisoned (false

imprisonment) prior to their deaths.

        328.     As a result of the Defendants’ murderous conduct, the Decedents suffered damages

including pain and suffering, trauma, emotional distress, loss of life and life’s pleasures, loss of

earnings and earning capacity, loss of accretion to their estates and other items of damages as fully

set forth in the paragraphs above which are incorporated herein by reference.

        WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants, jointly,

severally, and/or individually, in an amount in excess of One Billion Dollars ($1,000,000,000) for

compensatory and punitive damages, plus interest, costs, and such other monetary and equitable

relief as this Honorable Court deems appropriate to prevent the Defendants from ever again

committing the terrorist acts of September 11, 2001 or similar acts.

                                      COUNT FIVE
                              PLAINTIFFS v. ALL DEFENDANTS
                             NEGLIGENT AND/OR INTENTIONAL
                           INFLICTION OF EMOTIONAL DISTRESS

        329.    Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

        330.    All Defendants knew that the September 11, 2001 intentional hijacking and suicide

flights would injure innocent United States citizens at their place of work, leaving family members

to grieve for their losses.

        331.    The actions of the Defendants in using the September 11, 2001 intentional hijacking

and suicide flights to murder the Decedents were done with a willful disregard for the rights and

lives of the Plaintiffs.

        332.    As a direct and proximate result of Defendants’ conduct, Plaintiffs have suffered

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and will forever in the future suffer severe and permanent psychiatric disorders, emotional distress

and anxiety, permanent psychological distress and permanent mental impairment causing expenses

for medical care and counseling.

       333.    The conduct of the Defendants was undertaken in an intentional manner to kill

American citizens. Their efforts culminated in the murder of the Decedents and caused the

contemporaneous and permanent emotional suffering of the families and heirs of the Decedents.

       334.    The Defendants, by engaging in this unlawful conduct, negligently and/or

intentionally inflicted emotional distress upon the Plaintiffs.

       335.    As a result of their intentional, malicious, outrageous, willful, wanton and negligent

conduct, Plaintiffs suffered injuries and incurred damages as described herein and Defendants are

jointly and severally liable to all Plaintiffs for compensatory and punitive damages.

       WHEREFORE, Plaintiffs demand judgment in their favor against Defendants, jointly,

severally, and/or individually, for compensatory and punitive damages in excess of One Billion

Dollars ($1,000,000,000) as follows:

       (a)     Economic damages to each 9/11 Decedent Estate in accordance with the
               methodology the Court found to be appropriate in Havlish, et al. v. bin Laden, et
               al., civil action no. 03-9848;

       (b)     Non-economic damages of $2,000,000 per 9/11 Decedent Estate as established by
               the Havlish damages paradigm;

       (c)     Solatium damages for individual surviving family members as established by the
               Havlish solatium damages paradigm;

       (d)     Punitive damages; and

       (e)     Pre- and post-judgment interest, attorney’s fees, costs of this action and such other
               and further relief as the Court may deem appropriate under the circumstances.


                                       COUNT SIX
                              PLAINTIFFS v. ALL DEFENDANTS

                                                 90
                                           CONSPIRACY

       336.      Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

       337.      As set forth more fully above, all Defendants, known and unknown, unlawfully,

willfully and knowingly combined, conspired, confederated and agreed, tacitly and/or expressly,

to kill the Decedents and other persons within the United States.

       338.      As set forth above, all Defendants conspired and agreed to provide material support

and resources to al-Qaeda in furtherance of Defendants’ overall goal to kill American citizens and

other persons residing in the United States.

       339.      As set forth above, all Defendants engaged in concerted efforts and activities

designed to attack the United States and inflict harm on U.S. citizens and property.

       340.      The Defendants’ conspiracy resulted in the September 11 terrorist attacks that killed

the Decedents.

       341.       As a result of the Defendants’ conspiracy, Plaintiffs have suffered damages as

fully set forth in the paragraphs above which are incorporated herein by reference.

       WHEREFORE, Plaintiffs demand judgment in their favor against Defendants, jointly,

severally, and/or individually, for compensatory and punitive damages in excess of One Billion

Dollars ($1,000,000,000) as follows:

       (a)       Economic damages to each 9/11 Decedent Estate in accordance with the
                 methodology the Court found to be appropriate in Havlish, et al. v. bin Laden, et
                 al., civil action no. 03-9848;

       (b)       Non-economic damages of $2,000,000 per 9/11 Decedent Estate as established by
                 the Havlish damages paradigm;

       (c)       Solatium damages for individual surviving family members as established by the
                 Havlish solatium damages paradigm;



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        (d)     Punitive damages; and

        (e)     Pre- and post-judgment interest, attorney’s fees, costs of this action and such other
                and further relief as the Court may deem appropriate under the circumstances.


                                      COUNT SEVEN
                              PLAINTIFFS v. ALL DEFENDANTS
                                  AIDING AND ABETTING

        342.    Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

        343.    As set forth above, Defendants knowingly and substantially assisted in the

sponsorship of al-Qaeda, international terrorism and the September 11, 2001 terrorist attacks.

        344.    At the time of such aiding and abetting, Defendants knew or should have known

that their role was part of an overall and ongoing illegal, criminal and/or tortious activity.

        345.    As set forth above, Defendants aided and abetted in concerted efforts, transactions,

acts and activities designed to cause the attacks of September 11, 2001, on the United States, its

citizens, foreign citizens, its liberties and freedoms.

        346.    The Defendants’ aiding and abetting of international terrorism through material

sponsorship of al-Qaeda was a proximate cause of the September 11, 2001 terrorist attacks that

killed Decedents and inflicted injury on all Plaintiffs.

        347.    As a direct and proximate result of Defendants’ aiding and abetting activities,

Plaintiffs have suffered damages as set forth herein.

        WHEREFORE, Plaintiffs demand judgment in their favor against Defendants, jointly,

severally, and/or individually, for compensatory and punitive damages in excess of One Billion

Dollars ($1,000,000,000) as follows:

        (a)     Economic damages to each 9/11 Decedent Estate in accordance with the
                methodology the Court found to be appropriate in Havlish, et al. v. bin Laden, et

                                                  92
      al., civil action no. 03-9848;

(b)   Non-economic damages of $2,000,000 per 9/11 Decedent Estate as established by
      the Havlish damages paradigm;

(c)   Solatium damages for individual surviving family members as established by the
      Havlish solatium damages paradigm;

(d)   Punitive damages; and

(e)   Pre- and post-judgment interest, attorney’s fees, costs of this action and such other
      and further relief as the Court may deem appropriate under the circumstances.




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                        Respectfully Submitted,

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